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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                     WICHITA FALLS DIVISION

       UNITED STATES OF AMERICA

       v.                                                   No. 7:21-CR-008-O

       RICKY DALE HOWARD (01)


                                     GOVERNMENT'S EXHIBIT LIST

EXHIBIT        SPONSORING            DESCRIPTION OF EXHIBIT        IDENTIFIED   OFFERED        ADMITTED
NUMBER         WITNESS

  1.           T. Diehl              Map
  2.           T. Diehl              Map
  3.           T. Diehl              Family Photo
  4.           T. Diehl              Photographs
  5.           T. Diehl              Handwritten Notes by
                                     Howard
  6.           T. Diehl              Audio Recording of Howard
  7.           T. Diehl              Photographs of MV1
  8.           T. Diehl              Photographs of MV1
  9.           T. Diehl              Photographs of MV1
  10.          T. Diehl              Photographs of MV1
  11.          T. Diehl              Photographs of MV1
  12.          T. Diehl              Photographs of MV1
  13.          T. Diehl              Photographs of MV1
  14.          T. Diehl              Photograph of camper
  15a.         T. Diehl              Photograph of MV1
  15b.         T. Diehl              Photograph of MV1
  15c.         T. Diehl              Photograph of MV1
  15d.         T. Diehl              Photograph of MV1

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EXHIBIT      SPONSORING            DESCRIPTION OF EXHIBIT   IDENTIFIED   OFFERED        ADMITTED
NUMBER       WITNESS

  15e.       T. Diehl              Photograph of MV1
   16.       Kent Holcomb          Written Statement
   17.       Kent Holcomb          Photographs of Howard
                                   Home Place
   18.       Kent Holcomb          Aerial Photograph
   19.       Kent Holcomb          Camper Photographs
   20.       Kent Holcomb          Photograph of MV1
   21.       Sean Braun            Records
   22.       B. S.                 Photograph
   23.       B. S.                 Photographs
   24.       R.L.F.                Photograph
   25.       T. Howard             Photographs
   26.       T. Howard             Photographs
   27.       T. Howard             Photographs
   28.       T. Howard             Photograph
  29a.       T. Howard             Photograph
  29b.       T. Howard             Photograph
  29c.       T. Howard             Photograph
  29d.       T. Howard             Photograph
   30.       K. Howard             Photograph
   31.       K. Howard             Photographs
   32.       K. Howard             Consent to Search
   33.       K. Howard             Photograph
  34a.       K. Howard             Photograph
  34b.       K. Howard             Photograph
   35.       C. Howard             Photograph
  36a.       C. Howard             Photograph


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EXHIBIT      SPONSORING            DESCRIPTION OF EXHIBIT   IDENTIFIED   OFFERED        ADMITTED
NUMBER       WITNESS

  36b.       C. Howard             Photograph
  36c.       C. Howard             Photograph
   37.       Kevin Benton          Photographs
   38.       Kevin Benton          Photographs
   39.       S. D.                 Photograph
   40.       S. D.                 Photographs
   41.       C. G.                 Photograph
   42.       Sean Braun            Curriculum Vitae
   43.       Syretha               Curriculum Vitae
             McLeod-Long
   44.       Syretha               Report 1
             McLeod-Long
   45.       Syretha               Report 2
             McLeod-Long
   46.       Syretha               Reports
             McLeod-Long
   47.       Brandon Poor          Curriculum Vitae
   48.       Self-                 902 (14) Certificate
             Authenticating

   49.       Self-                 902 (14) Certificate
             Authenticating

   50.       Kent Holcomb          Photograph
   51.       Kent Holcomb          Photograph
   52.       Kent Holcomb          Photograph
  53a.       Brandon Poor          Forensic Report
  53b.       Brandon Poor          Excerpts
  53c.       Brandon Poor          Excerpts
  54a.       Brandon Poor          Gateway Video

  54b.       Brandon Poor          Excerpts

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EXHIBIT      SPONSORING            DESCRIPTION OF EXHIBIT       IDENTIFIED   OFFERED        ADMITTED
NUMBER       WITNESS

  54c.       Brandon Poor          Excerpts
  54d.       Brandon Poor          Excerpts
  54e.       Brandon Poor          Excerpts
  54f.       Brandon Poor          Excerpts
  54g.       Brandon Poor          Excerpts
  55a.       Brandon Poor          Gateway All Tagged Images
                                   Report

  55b.       Brandon Poor          Excerpts
  55c.       Brandon Poor          Excerpts
   56.       Brandon Poor          Hard drive with Raw Data
   57.       Brandon Poor          Freenet Exhibit on Gateway

   58.       Brandon Poor          Image with Information
                                   Count 4 – Image 1
                                   (Gateway)

   59.       Brandon Poor          Image with Information
                                   Count 4 – Image 2
                                   (Gateway)

   60.       Brandon Poor          Image with Information
                                   Count 1 – Image 1
                                   (Gateway)

  61a.       Brandon Poor          Image with Information
                                   Count 1 – Image 3
                                   (Gateway)

  61b.       Brandon Poor          Information for same image
                                   different location on
                                   Gateway

  62a.       Brandon Poor          Acer Video
  62b.       Brandon Poor          Excerpt


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EXHIBIT      SPONSORING            DESCRIPTION OF EXHIBIT      IDENTIFIED   OFFERED        ADMITTED
NUMBER       WITNESS

  62c.       Brandon Poor          Excerpt
  62d.       Brandon Poor          Excerpt
  62e.       Brandon Poor          Excerpt
  62f.       Brandon Poor          Excerpt
  63a.       Brandon Poor          All tagged images Acer
                                   report
  63b.       Brandon Poor          Excerpt
  63c.       Brandon Poor          Excerpt
  63d.       Brandon Poor          Excerpt
  63e.       Brandon Poor          Excerpt
  63f.       Brandon Poor          Excerpt
   64.       Brandon Poor          Acer Freenet Information
   65.       Brandon Poor          Image with information
                                   Count 2 – Image 1 (Acer)

   66.       Brandon Poor          Image with information
                                   Count 2 – Image 2 (Acer)

   67.       Brandon Poor          Image with information
                                   Count 3 – Image 1 (Acer)

   68.       Brandon Poor          Image with information
                                   Count 3 – Image 2 (Acer)

   69.       Brandon Poor          Image with information of
                                   MV1, series (Acer)

   70.       Brandon Poor          Image with information of
                                   MV1, series (Acer)

   71.       Brandon Poor          Image with information
                                   Count 1 – Image 1 (Acer)
   72.       Brandon Poor          Image with information
                                   Count 1 – Image 2 (Acer)


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EXHIBIT      SPONSORING            DESCRIPTION OF EXHIBIT       IDENTIFIED      OFFERED     ADMITTED
NUMBER       WITNESS

   73.       Brandon Poor          Image with information
                                   Count 1 – Image 3 (Acer)

  74a.       Brandon Poor          Graphics
  74b.       Brandon Poor          Graphics
   75.       RESERVED              RESERVED
   76.       RESERVED              RESERVED
   77.       RESERVED              RESERVED
   78.       RESERVED              RESERVED
   79.       RESERVED              RESERVED
   80.       RESERVED              RESERVED
   81.       RESERVED              RESERVED
   82.       RESERVED              RESERVED
   83.       RESERVED              RESERVED
   84.       RESERVED              RESERVED

                                                 Respectfully submitted,

                                                 PRERAK SHAH
                                                 ACTING UNITED STATES ATTORNEY

                                                 /s/ Brandie Wade
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 15, 2021, the foregoing document was electronically
filed with the clerk for the U.S. District Court, Northern District of Texas, using the
electronic case filing system of the court. The electronic case filing system sent a ANotice
of Electronic Filing@ to the following attorney of record who has consented in writing to
accept this Notice as service of this document by electronic means: Christy Jack, Letty
Martinez, and Benson Varghese.


                                          /s/ Brandie Wade
                                          BRANDIE WADE
                                          Assistant United States Attorney




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